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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


JOE HOLCOMBE, et al.
     Plaintiffs,                           §
                                           §
v.                                         §
                                           §        Civil Action No. SA-18-CV-00555-XR
UNITED STATES OF AMERICA,                  §
    Defendant.                             §




                ORDER SETTING HEARING ON MOTION TO QUASH
                      AND MOTION TO CONTINUE TRIAL

        On this day the Court considered non-party Academy, Ltd.’s Motion to Quash and for
Protection from the Government’s Subpoena Seeking Oral Testimony (ECF No. 319) and the
Government’s Motion to Continue Trial (ECF No. 324). These motions are set for hearing on
Tuesday, February 2, 2021 at 9:00 a.m. The Courtroom Deputy will inform the parties of the
means by which the hearing will be conducted.

      It is so ORDERED.

      SIGNED this 22nd day of January, 2021.




                                         XAVIER RODRIGUEZ
                                         UNITED STATES DISTRICT JUDGE




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